        Case 3:18-cv-06830-RS Document 131-41 Filed 04/28/21 Page 1 of 2




                                 MEMORANDUMOF UNDERSTANDING
                      Between the San FranciscoHousing DevelopmentCorporation
                            and the New Community LeadershipFoundation
                           REGARDINGTHE FILLMOREHERITAGECENTER

   This document, executed on April 21, 2017, serves to summarize the mutual understanding of the San
   Francisco Housing Development Corporation ("SFHDC") and the New Community Leadership
   Foundation ("NCLF") relative to the submission of a proposal to the City and County of San Francisco
   (the "City") and/or Office of Community Investment and Infrastructure for the potential purchase of the
   Fillmore Heritage Center ("FHC"). The City has issued a Request for Proposals ("RFP") for new
   ownership and operation of the FHC. SFHDC and the NCLF (together, the "Parties") are deeply
   committed to ensuring that the FHC first and foremost benefits the surrounding historic neighborhood
   and its long-time residents, and that the project is financially viable and sustainable for the long-term .
   The Parties each bring skills, talent, perspective and leadership that are critical to the success of the
   FHC, and recognize that by working together we can well serve the Fillmore community for decades to
   come.

   The Parties agree that this document serves as a roadmap for planning and implementation of
   programs at the FHC, and it is subject to revision based on information and circumstances that may
   arise during the RFP, selection process, predevelopment phase, construction phase and operatlonal
   phase . Formal leases will need to be executed that will create legally binding roles and responsibilities
   of the Parties and other organizations or entities that wish to occupy space at the FHC.

                1) SFHDC will leverage its 28-year history of housing and community
                   economic development in San Francisco to serve as the lead project
                   sponsor, developer and operator.

               2)    The NCLF will leverage its strong community roots and leadership to play
                     a key role in the planning and operations of several components of the
                     project, and will lend its support to SFHDC in acquiring and managing the
                     FHC .

               3)    It is intended that the NCLF will lease and manage the FHC Screening
                     Room, at an estimated base rent of approximately $1,080/month, and
                     Common Area Maintenance charges of approximately $500/month (which
                     represent a substantial discount) . Community partners would include as
                     many of the following as possible : S.F. Black Film Festival, Ken Johnson,
                     The Village Project and former members of the Fillmore Ba Area Media
                     Group . The NCLF will be responsible for coordinating the collective
                     management and programing of the space. The NCLF will provide
                     SFHDC with an acceptable written plan as to the program, and will also
                     provide two years of the NCLF's financial statements prior to execution of
                     a lease agreement. A security deposit , in an amount to be agreed upon,
                     will be required. The NCLF would be responsible for additional costs
                     related to the space , including any extra security, utilities, etc.

                4)   The NCLF , in partnership with SFHDC, will create a selection committee
                     from the community to identify a business or organization to lease the
                     Gallery space. SFHDC intends to lease the Gallery to a community-based
                     entity or business at a base rent of approximately $1,020 per month and
                     Common Area Maintenance charges of approximately $500/month (which
                     represent a substantial discount). Similar requirements as above
                     regarding SFHDC's receipt of an acceptable written program for the
                     space, security deposit, and review of financial statements will be
                     required . The lessee would be responsible for additional costs related to
                     the space, including any extra security, utilities, etc.

                5) The NCLF , in partnership with SFHDC , will identify a community-based
                   organization to operate the garage, if feasible .



   SFHDCand NCLFMemorandumof Understandingfor FillmoreHeritageCenter                                             1



HIGHLY CONFIDENTIAL- ATTORNEY'S EYES ONLY                                                   CCSF-SHIFERAW_000847
      Case 3:18-cv-06830-RS Document 131-41 Filed 04/28/21 Page 2 of 2




                6)   The NCLF would Ilka to create an option for members of the community
                     (speclflcally Certificate of Preference holders and the historically
                     disenfranchised) and community-based organizations to acquire
                     ownership of the Screening Room and Gallery. Once the overall FHC
                     project has reached financial and programmatic stability, NCLF wlll
                     explore the creation of a community land trust for this purpose. This wlll be
                     done In partnership with SFHDC . Any sales or transfers of any part of the
                     FHC must be approved by the project's lenders and funders.

                7)   The NCLF, at Its own cost, Is Interested In being the compllance officers
                     over the Community Benefit Plan of the Lobby Area, Restaurant and
                     Theater. SFHDC supports this concept and will support NCLF's efforts to
                     obtain funding to perform that service.

                8)   SFHDC plans to program a small number of shared office spaces/work
                     stations for non-profit organizations on the mezzanine level of the FHC.
                     SFHDC would lease NCLF workspace at the monthly rate of $200 per
                     workstation. SFHDC and NCLF believe that such an arrangement will
                     enhance the collaboration between the Parties.

                9)   The NCLF would like to see the creation of a community discount card for
                     community members who have been historically disenfranchised by Urban
                     Renewal. The NCLF would Hke to manage this card program. SFHDC
                     supports this concept and, subject lo legal review, Intends to honor such a
                     discount card across the FHC, including concert tickets, restaurant bills
                     and venue rental. The exact value of the discount will be coordinated
                     between the Parties and the on-site retailers.

                10) The NCLF, at Its own cost, would like to coordinate monthly (or possibly
                    bi-monthly) meetings between the SFHDC, community members,
                    businesses Inside the venue and other stakeholders . These meeting will
                    address both Improving the foot traffic around and into the FHC, end
                    making the reopening of lhe FHC a community-focused economic
                    success . SFHDC supports this and welcomes ongoing, constructive
                    feedback to ensure success for all.

                11) SFHDC is committed to working with lhe NCLF and other organizations to
                    ensure that au retail tenants meet agreed upon local hirlng and training
                    goals. SFHDC Intends to require such commitments as part of
                    commercial leases with retailers .




     The above reflects our understanding among the Parties as of the dale of execution.



     ~ 2_~
     Board President, NCLF
     Date:             i
                   Lf 2 t.{ /    l7
                                  -I-
                                                          o,€:&~~
                                                               1
                                                          Chief Executive Gfficer , SFHDC
                                                          Date: _?/"-1/
                                                                   ....
                                                                     Z~t-( /_._1_7.__
                                                                                ____                 _
                                                                         4




     SFHDC
         andNCLFMemorandum
                        of Understanding
                                     rorFillmore
                                               Heritage
                                                      Center                                             2




HIGHLY CONFIDENTIAL- ATTORNEY'S EYES ONLY                                                   CCSF-SHIFERAW_000848
